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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


WSOU INVESTMENTS LLC D/B/A                     §
BRAZOS LICENSING AND                           §             C.A. NO. 6:20-CV-00487-ADA
DEVELOPMENT,                                   §             C.A. NO. 6:20-CV-00488-ADA
             Plaintiff                         §             C.A. NO. 6:20-CV-00489-ADA
                                               §             C.A. NO. 6:20-CV-00490-ADA
                                               §             C.A. NO. 6:20-CV-00491-ADA
                                               §             C.A. NO. 6:20-CV-00492-ADA
-vs-                                           §             C.A. NO. 6:20-CV-00493-ADA
                                               §             C.A. NO. 6:20-CV-00494-ADA
                                               §             C.A. NO. 6:20-CV-00495-ADA
                                               §             C.A. NO. 6:20-CV-00496-ADA
ZTE CORPORATION,                               §             C.A. NO. 6:20-CV-00497-ADA
            Defendants                         §
                                               §



                                           ORDER

        Having considered the parties’ supplemental briefing on transfer of venue under 28

U.S.C. §1404(a), the Court denies defendant ZTE Corporation’s (“ZTE Corp.”) request to

transfer the above-titled actions to the Northern District of Texas (“NDTX”). Plaintiff WSOU

initiated these actions against ZTE Corp and another two ZTE entities—ZTE (USA), Inc. (“ZTE

USA”) and ZTE (TX), Inc. (“ZTE TX”)—on June 3, 2020. ECF No. 1. The Court subsequently

dismissed ZTE USA and ZTE TX from these actions for improper venue. ECF No. 105.

Afterwards, ZTE USA filed a parallel litigation in the NDTX involving the same Patents-in-Suit.

See ZTE (USA) Inc. v. WSOU Investments, LLC, civil no. 3:21-cv-02128 (N.D. Tex. Sept. 7,

2021) (“the NDTX Action”). ZTE Corp. now requests this Court to transfer these actions to the

NDTX, asserting that judicial economy warrants the application of an exception to the “first-to-

file” rule. ECF No. 118 at 3.




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       The “first-to-file” rule is a “doctrine of federal comity, intended to avoid conflicting

decisions and promote judicial efficiency.” Merial Ltd. v. Cipla Ltd., 681 F.3d 1283, 1299 (Fed.

Cir. 2012). The first-to-file doctrine generally favors pursuing the first-filed action, but “the rule

is not rigidly or mechanically applied.” In re Voip-Pal.com, Inc., 845 F. App’x 940, 942 (Fed.

Cir. 2021). Exceptions to the first-to-file rule are warranted when “sound reason [exists] that

would make it unjust or inefficient to continue the first-filed action.” Elecs. For Imaging, Inc. v.

Coyle, 394 F.3d 1341, 1347 (Fed. Cir. 2005).

       The Court does not find that judicial economy warrants the application of an exception to

the “first-to-file” rule in these actions. ZTE USA is not an indispensable party in these actions.

These actions have been litigated before the Court since June 3, 2020 and have been moving

forward at a relatively fast pace. Claim construction for these actions has already been fully

briefed. The parties have been conducting fact discovery for over four months, and the Court has

resolved numerous discovery disputes between the parties. By contrast, the only significant

movement in the NDTX Action since it was filed on September 7, 2021 is that the parties have

completed their briefing for motion to dismiss, which is still pending resolution as of today.

Therefore, the Court does not find that transferring these actions to the NDTX would promote

the efficient resolution of the disputes between the parties or judicial economy.

       It is therefore ORDERED that ZTE Corp.’s request to transfer these actions to the

NDTX (ECF No. 118) is DENIED.

       SIGNED this 3rd day of January, 2022.




                                               ALAN D ALBRIGHT
                                               UNITED STATES DISTRICT JUDGE


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